  Case 09-43840           Doc 26      Filed 09/09/09 Entered 09/09/09 11:45:38        Desc Main
                                        Document     Page 1 of 3


                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA

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In Re:                                                                                  Chapter 7
                                                                      Bky. Case No. 09-43840 RJK
         Raed S. Kakish,

                           Debtor.
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                             AMENDED NOTICE OF CONTINUED HEARING
                                    (as to the date and time)

TO:      DEBTOR ABOVE-NAMED, HIS ATTORNEY, AND OTHER PARTIES IN INTEREST
         SPECIFIED IN LOCAL RULE 9013-3.

         Please take notice that the hearing regarding Creditor Flagship Bank Minnesota’s Motion for

Order Directing Examination of Debtor has been continued as follows:

         1.      The Court will hold a hearing, if such shall be necessary, on this motion on

September 23, 2009, at 9:30 am in Courtroom No. 8 West of the United States Courthouse, 301

US Courthouse, 300 South Fourth Street, Minneapolis, MN 55415, or as soon thereafter as

counsel can be heard.

         2.      Any response to this motion must be filed and delivered not later than September 18,

2009, which is three (3) days before the time set for the hearing (excluding Saturdays, Sundays, and

holidays) or filed and served by mail not later than September 14, 2009, which is seven (7) days

before the time set for the hearing (excluding Saturdays, Sundays, and holidays). UNLESS A

RESPONSE OPPOSING THE MOTION IS TIMELY FILED, THE COURT MAY GRANT THE

MOTION WITHOUT A HEARING.
 Case 09-43840      Doc 26   Filed 09/09/09 Entered 09/09/09 11:45:38      Desc Main
                               Document     Page 2 of 3


                                       MADIGAN, DAHL & HARLAN, PA

Dated: September 9, 2009
                                       /e/ Jon R. Steckler
                                       Thomas P. Harlan (MN#210870)
                                       Jon R. Steckler (MN#0322453)
                                       222 South Ninth Street, #3150
                                       Minneapolis, MN 55402
                                       (612) 604-2000 Main
                                       (612) 604-2599 Fax
                                       Attorneys for Creditor Flagship Bank Minnesota




                                         2
   Case 09-43840               Doc 26          Filed 09/09/09 Entered 09/09/09 11:45:38                      Desc Main
                                                 Document     Page 3 of 3


                                         UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF MINNESOTA

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In Re:                                                                                                             Chapter 7
                                                                                                 Bky. Case No. 09-43840 RJK
          Raed S. Kakish,

                                 Debtor.
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                                                        CERTIFICATE OF SERVICE

I hereby certify that on September 9, 2009, I caused the following documents:

          1.         Amended Notice of Continued Hearing; and
          2.         Certificate of Service

to be filed electronically with the Clerk of Bankruptcy Court through ECF, and that ECF will send an e-notice of the
electronic filing to the following:

Dwight R.J. Lindquist                                                   Cass Weil, Esq. (weilc@moss-barnett.com)
1510 Rand Tower                                                         Sarah E. Doerr (doerrsarah@moss-barnett.com,
527 Marquette Avenue                                                    montpetitm@moss-barnett.com
Lindquist2@earthlink.net                                                4800 Wells Fargo Center
                                                                        90 South Seventh Street
                                                                        Minneapolis, MN 55402-4129

Recovery Management Systems Corp                                        U.S. Trustee
claims@recovercorp.com                                                  1015 U.S. Courthouse
                                                                        300 South Fourth Street
                                                                        Minneapolis, MN 55415
                                                                        Ustpregion12.mn.ecf@usdoj.gov

and have caused the Amended Notice of Continued Hearing to be delivered to Debtor via Certified Mail, Return Receipt
Requested, by bringing true and correct copies of the same to the U.S. Post Office for delivery to the Debtor at the last
known address of Debtor as follows:

Raed Samir Kakish
19135 Rutledge Road
Deephaven, MN 55391.

                                                                          MADIGAN, DAHL & HARLAN, P.A.

Date: September 9, 2009                                                   /e/ Jon R. Steckler
                                                                          Thomas P. Harlan (#210870)
                                                                          Jon R. Steckler (MN#0322453)
                                                                          Campbell Mithun Tower
                                                                          222 South Ninth Street, Suite 3150
                                                                          Minneapolis, MN 55402
                                                                          (612) 604-2000 Main
                                                                          (612) 604-2599 Fax
                                                                          Attorneys for Creditor Flagship Bank
                                                                          Minnesota




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